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                                                         United States Department of Justice
                                                         United States Attorney’s Office
                                                         Western District of Texas



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Assistant United States Attorney      San Antonio, Texas 78216        Facsimile: (210) 384-7312

                                          June 11, 2020

Via: ECF
United States District Clerk’s Office
655 E. Cesar E. Chavez Blvd. Room G-65
San Antonio, TX 78206

        Re:      Vacation Letter; Civil Action No. SA-18-CV-1184-DAE
                 Rogelio Barron, et.al. v. United States of America

Ladies & Gentlemen:

        Please be advised that I am unavailable on the dates below.

    •   June 29, 2020 through July 3, 2020

       Please extend me the professional courtesy of not scheduling any hearings, trials or other
matters connected to this case during the days listed above.

        Thank you for your attention to this matter.

                                                       Sincerely,

                                                       John F. Bash
                                                       United States Attorney

                                              By:      /s/James F. Gilligan
                                                       James F. Gilligan
                                                       Assistant United States Attorney
                                                       State Bar No. 07941200
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cc: Via ECF
    Jay L. Winckler
